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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA



 ENTERGY NEW ORLEANS, LLC                                CIVIL ACTION


 VERSUS                                                  NO: 18-12472


 THE HAWTHORN GROUP, L.C.                                SECTION: “J”(2)


                                      ORDER

      Considering the foregoing Ex Parte Consent Motion for Extension of Time to

File a Response to the Complaint (Rec. Doc. 5),

      IT IS HEREBY ORDERED that the motion is GRANTED.

      IT IS FURTHER ORDERED that Defendant, The Hawthorn Group, L.C.,

shall file its responsive pleadings not later than March 12, 2019.

      New Orleans, Louisiana, this 19th day of February, 2019.




                                          CARL J. BARBIER
                                          UNITED STATES DISTRICT JUDGE
